       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 1 of 27



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE                      No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY                           MDL No. 2323
LITIGATION

Kevin Turner and Shawn Wooden, on behalf
of themselves and others similarly situated,         Hon. Anita B. Brody
                             Plaintiffs,
              v.
National Football League and NFL
Properties, LLC, successor-in-interest to NFL
Properties, Inc.,
                             Defendants.

THIS DOCUMENT RELATES TO:
ALL ACTIONS



                                EXPLANATION AND ORDER


       On April 5, 2018, I issued a Memorandum Opinion awarding Class Counsel

$106,817,220.62 in attorneys’ fees. Today I address the allocation of those funds among Class

Counsel for their work in securing the Settlement Agreement.

I.     Background

       This case began as an aggregation of lawsuits brought by former Players against the NFL

Parties for head injuries sustained while playing NFL football. This Settlement was secured

without formal discovery, with limited litigation of motions, and with no bellwether trials.

Instead this case was litigated through negotiations that were supported by a creative legal

framework that survived rigorous appellate challenge.

       On January 31, 2012, the MDL was formed and proceedings were centralized in this

Court. In July of 2013, I ordered the parties to engage in mediation and I appointed retired

                                                 1
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 2 of 27



United States District Court Judge Layn Phillips as mediator. ECF No. 5128. The parties

worked intensely in this negotiation, at times around the clock. A Term Sheet was executed on

August 29, 2013. ECF No. 5235.

       Following the announcement of a term sheet, the parties continued to negotiate, working

out the detailed terms of the Settlement Agreement. Recognizing the complicated financial

aspects of the proposed settlement, I appointed Perry Golkin as Special Master to aid me in my

evaluation. ECF No. 5607. On January 6, 2014, the parties submitted a motion for preliminary

approval of a class action settlement. ECF No. 5634. Though I believed the efforts in the

negotiation were commendable, I denied the motion because I had concerns about the cap on the

Monetary Award Fund. ECF No. 5658.

       Diligently, the parties returned to their negotiations, working intensely through June of

2014 to further analyze the economic data to construct a fund that would ensure payment to the

class members over the full 65-year term of the Agreement. On June 25, 2014, the parties

submitted a revised proposed Settlement Agreement, which provided an uncapped Monetary

Award Fund. ECF No. 6073. As with the first proposed settlement, the parties chose to

structure the case as a class action, which subjected the Settlement Agreement to the challenges

of compliance with Federal Rule of Civil Procedure 23. On July 7, 2014, I granted preliminary

approval. ECF No. 6083. I instructed Co-Lead Class Counsel to ensure that notice was given to

the class, and I set a schedule for an objection procedure and a fairness hearing. ECF No. 6084.

       After the Fairness Hearing, I ordered the parties to return to the bargaining table to

consider making the following changes:


              Allow credit for Eligible Seasons when a Player was playing in the World League
               of American Football, the NFL Europe League, and the NFL Europa League;



                                                 2
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 3 of 27



              Revise the funding limitations to the BAP to ensure that all eligible players would
               receive a BAP baseline assessment;

              Revise the date for the Qualifying Diagnosis of Death with CTE;

              Add a hardship exemption for fee to appeal an award determination; and

              Allow a reasonable accommodation for force majeure type events that preclude
               class members from obtaining medical records.

ECF No. 6479.

       On February 13, 2015, the parties agreed to the proposed changes and submitted an

amended settlement. On April 22, 2015, I certified the class and approved the Settlement

Agreement. ECF No. 6509.

       Following my approval, Class Counsel turned their attention to the defense of the class

certification under Rule 23 and the approval of the Settlement Agreement. On April 18, 2016,

the Third Circuit Court of Appeals affirmed. In re National Football League Players

Concussion Injury Litigation, 821 F.3d 410 (3d Cir. 2016). The Circuit Court’s opinion was

challenged through two petitions for writ of certiorari that were submitted to the United States

Supreme Court. The petitions were denied on December 12, 2016. The Settlement became

effective on January 7, 2017.

       As a part of the Settlement Agreement, the NFL Parties agreed to pay $112.5 million

dollars in fees to Class Counsel. On April 5, 2018, I approved Co-Lead Class Counsel’s petition

for the award of attorney’s fees for the full amount. On that same date, I approved the incentive

awards for class representatives and awarded the payment of $5,682,779.38 in expenses to Class

Counsel. In re National Football League Players’ Concussion Injury Litigation, No. 2:12-MD-

02323-AB, 2018 WL 1635648 (E.D. Pa. April 5, 2018).

       On September 11, 2017, I ordered Co-Lead Class Counsel, Christopher Seeger to submit

a proposal for the allocation of lawyers’ fees among Class Counsel. ECF No. 8367. Mr. Seeger

                                                 3
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 4 of 27



submitted a detailed proposal on October 10, 2017. ECF No. 8447. I also invited any party

seeking payment of class benefit fees to submit a counter-declaration. ECF No. 8448. On May

15, 2018, I convened a hearing and allowed any party seeking class benefit payment the

opportunity to explain their position and basis for the fee requests.1

       In the April 5th Fee Opinion, I observed that a portion of the $112.5 million would be

used to pay Class Counsel’s fees for securing the Settlement Agreement and would be used for

the implementation of the Settlement Agreement. Today I allocate $85,619,466.79 to Class

Counsel for their work in securing the Settlement Agreement. I continue to hold the remaining

funds in reserve to pay Class Counsel for their services in supporting the class through the

implementation of the 65-year term of this Agreement.2

II.    Discussion

       This Settlement was obtained through a complex, multi-tracked mediation effort. It

required a pioneering effort by Class Counsel, which allowed for the formation of a legally

adequate class despite player differences. The relatively quick resolution allowed impaired Class

Members to receive compensation and access to treatment as quickly as possible. The Parties

made it clear to me that certification of this case as a class action was a keystone to negotiations.

But, Rule 23 and the related case law made class certification in personal injury cases a

challenge. Class Counsel’s creativity in structuring a certifiable class against this legal landscape

1
  In advance of this hearing, I required all firms seeking payment for class benefit services to
provide declarations related to the illegal assignment of Class Member Awards to Third-Party
Funders. I have decided not to take action on that information at this time.
2
  The Settlement Agreement allowed for a reduction of individual Awards by up to 5% to pay
implementation fees to Class Counsel. In my April 5, 2018 opinion, I indicated that I believed a
determination of the need for additional funds was premature at this time. In an abundance of
caution, I have instructed the Claims Administrator to hold 5% of all Awards in reserve. I will
revisit Class Counsel’s request for additional funds to be paid from that holdback at a later date.


                                                  4
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 5 of 27



and persuading this Court, the Third Circuit, and United States Supreme Court was

groundbreaking.

Factors Considered in Calculation of the Multipliers

       In his proposed allocation, Co-Lead Class Counsel indicated that he used three broad

criteria in calculating his proposed allocation: (1) appointed leadership roles in the litigation; (2)

“meaningful” involvement in the litigation from beginning to end; and (3) value of the

contribution to the settlement negotiations and defense of the Settlement on appeal.

       I will address Co-Lead Class Counsel’s third factor first, because I believe it most

important. Under present case law, establishing class certification under Rule 23 in mass tort

cases is challenging. One of Class Counsel’s most important contributions was the creation and

negotiation of the necessary provisions that allowed for a settlement under these legal rigors.

Class Counsel’s innovative terms formed through rigorous negotiation and then defended at the

appellate level were outstanding. I place a very high value on the legal acumen necessary to

construct and defend this unique settlement.

       Secondly, credit should be given to attorneys who were meaningfully involved in this

litigation from the earliest stages through to the hard fought appeal. The lawyers that advanced

the interests of the class for the full five years of negotiation and defense deserve to be

compensated for this work.

       Relatedly, several objectors have requested that I consider the common benefit work

performed prior to the formation of the MDL. At the start of the MDL proceedings, I adopted

the protocol proposed by Plaintiffs’ leadership as it related to the submission of fees and

expenses. Those regulations prohibited the submission of hours for work performed prior to the




                                                  5
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 6 of 27



formation of this MDL. ECF No. 3710. As is noted below, I have considered work done prior to

the formation of the MDL through an increase in the firm’s multiplier where applicable.

        Finally, the fact that a firm has a leadership role in this MDL/Class Action is a factor that

should be considered in the fee allocation. But, membership in the Plaintiff’s Executive

Committee (the “PEC”) and the Plaintiff’s Steering Committee (the “PSC”), standing alone, is

insufficient to merit anything greater than a 1.0 “multiplier.” In constructing the PSC and PEC,

Plaintiffs provided a list of the tasks that were delegated to the PSC, almost all of which were

never necessary to the advancement of this case. ECF No. 54, at 2-4. Thus, members of the

PEC and PSC are entitled to payment for the work performed at reasonable billing rates, but,

without more, are not entitled to an enhancement of those fees.

        Some attorneys have argued that they incurred more risk by taking on large numbers of

clients. They argue that their contribution of “critical mass” is a factor worthy of a multiplier. I

disagree. Every attorney involved in this litigation has taken on the risk that work will be

performed, but no payment will be received. Attorneys who worked a high number of hours

advancing the interests of large numbers of clients certainly incurred great risk, but risk incurred

for individuals must be paid by those individuals.3 On the other hand, attorneys who worked a

high volume of hours advancing the interest of the Class incurred a high risk for the Class. That

is the type of risk that should be paid through a class benefit multiplier.




3
  Actually, as Professor Rubenstein noted, the economies of scale actually benefit firms that
took on large volumes of clients. ECF No. 9526 at 32-33. Though these attorneys have taken on
a greater volume of risk, they have actually taken on less risk on a client by client basis. Either
way, this is risk attributable to their representation of individual clients, not their risk as it relates
to the Class.


                                                    6
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 7 of 27



Billing Rates Used

       As to the lodestars submitted here, I have previously expressed my concerns about the

billing rates submitted by some firms. See In re National Football League Players’ Concussion

Injury Litigation, 2018 WL 1635648, *9. In seeking the appointment of the PEC and PSC, the

attorneys indicated that they had “reached consensus to establish reasonable uniform hourly rates

for all partners, associates and paralegals conducting work that benefits all plaintiffs for purposes

of reimbursement for fees from the Common Benefit Fund and for lodestar check….” ECF No.

54. Despite this, the hourly rates submitted here were not uniform and these agreed rates have

not been provided to the Court. The lodestars submitted break the hours worked into groups of

partners, of counsel, associates, staff attorneys and contract attorneys, and paralegals. I have

taken the average billing rate4 for each of these categories to use as a reference. Where the

overall firm rate has exceeded the rate using these averages, I have adjusted the billing rates.

Where an adjustment is made, it is noted below.

The Process to Determine this Allocation

       I concluded that this specific case would be most equitably resolved by allowing Co-Lead

Class Counsel to recommend an allocation. I chose this approach because this case was resolved

through intensive negotiations, as opposed to widely reviewed discovery, depositions, and

bellwether trials. Co-Lead Class Counsel had a front row seat for the negotiations and the legal

rigors of the appellate process. His perspective is unique and important. This approach is not

unusual and has been endorsed by other courts, including courts in this district. See, e.g.,

Milliron v. T-Mobile, USA, Inc., 423 F. App’x 131, 134 (3d Cir. 2011); In re Processed Egg

4
  The average billing rate for partners is $758.35. The average billing rate for “of counsel”
attorneys is $692.50. The average billing rate for associates is $486.67. The average billing rate
for contract attorneys is $537.50. The average billing rate for paralegals is $260.00.


                                                  7
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 8 of 27



Prods. Antitrust Litig., No. 08-2002, 2012 WL 5467530, at *7 (E.D. Pa. Nov. 9, 2012); accord In

re Linerboard Antitrust Litig., 333 F. Supp. 2d 343, 351-52 (E.D. Pa. 2004).

        Since it is my obligation to “evaluate what Class Counsel actually did and how it

benefitted the class,” In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d

283, 342 (3d Cir. 1998), I asked Class Counsel to submit his recommendation and then allowed

other attorneys to object to the proposed allocation, both in pleadings and in open court. The

path of this litigation has also provided me with a very full picture of the roles and

responsibilities of the different attorneys in this litigation. As a result, I believed that delegating

the allocation to a special master or Magistrate Judge for a report was not advantageous.

The Firm-by-firm Fee Requests

        I will address each firm in Co-Lead Class Counsel’s fee petition in alphabetical order,

setting out the amount of the allocation and the factual basis underlying my conclusion. I will

then address the fee petitions of the Objectors.

        1. Anapol Weiss.

        Anapol Weiss made contributions to this litigation from its outset to its conclusion. I

appointed Sol H. Weiss of Anapol Weiss as Co-Lead Class Counsel in this case, having been

selected for that role by the PEC. ECF No. 72. Larry E. Coben was appointed to serve as a

member of the PEC.

        Anapol Weiss was actively involved in the construction and negotiation of the Settlement

Agreement. As was reported by Co-Lead Class Counsel, Mr. Weiss “attended many of the

settlement meetings and mediations with the NFL. Mr. Weiss, and his partner, Mr. Coben,

assisted in negotiating the battery of tests for the BAP and dealt with other matters relating to the

medical issues underpinning the Settlement. Mr. Weiss was active in the settlement process,



                                                   8
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 9 of 27



including review and comment on the drafts of the Settlement Agreement. Messrs. Weiss and

Coben met with and assisted in preparing scientists and physicians who submitted declarations in

support of the Settlement.” ECF No. 8447, at 7.

       Anapol Weiss was one of the firms involved in this litigation from start to finish. They

were also responsible for filing the first federal case (Easterling v. NFL, Civil Action No. 11-

5209) on August 17, 2011. Prior to the formation of the MDL, Anapol Weiss played a

leadership role in bringing plaintiffs’ counsel together. I have given some weight to this pre-

MDL work in the calculation of their multiplier.

       Anapol Weiss submitted 4,241.20 hours for a lodestar of $1,857,436.00. Based on the

contributions and the nature of the work performed by Anapol Weiss, including the firm’s pre-

MDL work, I award them $4,643,590.00, which amounts a 2.5 multiplier on the firm’s lodestar.

       2. Casey Gerry Schenk.

       David Casey was appointed to serve on the PSC. Mr. Casey and his partner, Fred Schenk

also served on the Communications Committee. Co-Lead Class Counsel has recommended that

work performed as a member of the Communications Committee is not enough, standing alone,

to merit an enhancement through a multiplier. As discussed above, Co-Lead Class Counsel

supervised all aspects of this settlement negotiation. I respect his unique position in evaluating

the impact of the committee’s work on the over-all settlement, and I accept his conclusion about

the proper multiplier to be used.

       Casey Gerry Schenk submitted 417.40 hours for a lodestar of $333,920.00. This lodestar

utilized rates that exceeded the average rates I have identified. I award the firm $316,533.51,

which is the full amount of the adjusted lodestar.




                                                 9
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 10 of 27



       3. Dugan Law Firm.

       James Dugan was selected to serve on the PSC and served on the Discovery and

Preemption Committees.

       The Dugan Law Firm submitted 293.90 hours for a lodestar of $188,340.50. I award the

full amount of the firm’s lodestar.

       4. Girard Gibbs.

       Daniel Girard and Amanda Steiner worked with Co-Lead Class Counsel, experts, and co-

counsel to obtain Final Approval of the Settlement and assisted in the defense of the Settlement

Agreement after Final Approval. I accept Co-Lead Class Counsel’s characterization of the

firm’s contribution to the defense of the settlement, which I believe is one of the most complex

aspects of the work done in this case.

       Girard Gibbs submitted 373.10 hours for a lodestar of $279,489.00. I will award the firm

$335,386.80, which amounts a 1.2 multiplier on the firm’s lodestar.

       5. Girardi Keese.

       I appointed Thomas V. Girardi and Graham LippSmith of Girardi Keese to serve as

members of the PEC. Additionally, Girardi Keese, along with Goldberg Persky & White and

Russomanno & Borello, brought the first two cases that were filed in this litigation: Maxwell v.

NFL (filed July 19, 2011) and Pear v. NFL (filed August 3, 2011).

       The firm has submitted their pre-MDL hours as an exhibit to their objections. I have

considered that submission and considered the work done by the firm prior to the formation of

the MDL. This pre-MDL work has provided the basis for the multiplier that I have chosen.

       This firm submitted 628.70 hours for a lodestar of $448,190.00. This lodestar utilized

rates that exceeded the average rates I have identified. In consideration of the firm’s leadership



                                                10
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 11 of 27



on the PEC and their pre-MDL common benefit work, I award the firm $526,548.33, which

amounts to a 1.2 multiplier on the adjusted lodestar.

       6. Goldberg, Persky & White.

       Goldberg, Persky & White was not a member of the PEC or the PSC, but the firm (along

with Girardi Keese and Russomanno & Borello) filed the first two cases in this litigation:

Maxwell v. NFL (filed July 19, 2011) and Pear v. NFL (filed August 3, 2011).

       I am aware of Jason Luckasevic’s work in mounting litigation against the NFL, including

his relationship with Dr. Bennet Omalu, who was a pioneer in the discussion of CTE. This pre-

MDL work has provided the basis for the multiplier that I have chosen.

       Goldberg, Persky & White submitted 500.60 hours for a lodestar of $262,860.00. To

ensure that the firm receives an appropriate value for their pre-MDL work, I award them

$328,575.00, which amounts a 1.25 multiplier on the firm’s lodestar.

       7. Hagan, Rosskopf & Earle.

       Bruce Hagen served on the Communications Committee of the PSC.

       Mr. Hagen has submitted objections, documenting the various tasks he completed for the

Communications Committee. I have reviewed these, but the arguments do not alter my belief

that the services performed by members of the Communications Committee do not merit a

multiplier. This is not to say that the work of the committee did not make a difference in this

litigation. The issue here is whether that work made such a difference that counsel’s ordinary

fees should be subject to an enhancement. Upon review of all the pleadings (including the

information presented by others who were members of the Communications Committee), I have

concluded that membership in the Communications Committee, without more, is not entitled to a

multiplier.



                                                11
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 12 of 27



        Hagen, Rosskopf & Earle submitted 540.80 hours for a lodestar of $324,480.00, which I

award them in full.

        8. Hausfeld.

        I appointed Richard Lewis and Michael D. Hausfeld to serve as members of the PEC.

Additionally, Hausfeld associate, Jeannine M. Kenney, served as the Court-appointed Plaintiffs’

Liaison Counsel, and assisted Co-Lead Class Counsel in organizing communications with and

between the PEC, the PSC and Co-Lead Class Counsel.

        Mr. Lewis also served on the Legal Committee where he conducted factual and legal

research in preparation for, and drafting of, the Master Administrative Personal Injury and

Medical Monitoring Class Action Complaints, and opposing the NFL Parties’ efforts to dismiss

Plaintiffs’ claims.

        Hausfeld submitted 1,281.80 hours for a lodestar of $763,917.50. This lodestar utilized

rates that exceeded the average rates I have identified. I award the firm $914,903.77, which

amounts a 1.3 multiplier on the adjusted lodestar.

        9. Herman, Herman & Katz.

        At the direction of Co-Lead Class Counsel, Herman Herman & Katz provided research

and preparation of materials applicable to the cause and treatment of concussions that assisted in

the development of the terms and conditions of the Settlement. The firm was uniquely

positioned to assist through the aid of Joseph Kott, who brought the experience of over 20 years

of practicing neurosurgery prior to becoming of counsel.

        Herman Herman & Katz submitted 136.30 hours for a lodestar of $89,660.00. I award

the full amount of the firm’s lodestar.




                                                12
         Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 13 of 27



         10. Professor Samuel Issacharoff.

         One of the keystones to this litigation was overcoming the challenge presented by Rule

23 in the personal injury context. In hindsight, it is clear that this was not an insurmountable

obstacle. The creative construction of the Settlement Agreement as well as an intelligent

approach to the case law made the defense of this Settlement look almost easy. But, that

hindsight cannot control our evaluation. The Settlement in this case was a pioneering effort, not

just on the science, but also on the law.

         Professor Issacharoff’s persuasive appellate advocacy and knowledge of class action

jurisprudence was invaluable to the Class. Though Professor Issacharoff’s presence is most

obviously seen in his appellate pleadings and argument, that contribution was only part of his

work. As Co-Lead Class Counsel explains, Professor Issacharoff was influential in the

settlement negotiations, which were conducted with an eye toward the potential Rule 23 issues.

ECF No. 8447, at 9.

         Several objectors take issue with the multiplier proposed by Co-Lead Class Counsel.

These arguments arise out of a fundamental misunderstanding of the nature of the agreement that

was reached in this case. Settlement required the creation of a class. The complexity of the law

in this area required an expert who could help construct an agreement that would withstand the

rigors of the appellate process. If that process looked easy, it was due to Professor Issacharoff’s

skill.

         Professor Issacharoff submitted 801.75 hours for a lodestar of $800,512.50. As a

member of the “team,” however, the professor was obligated to comply with the same

restrictions on billing rates as law firms seeking common benefit payments. I have, therefore,




                                                 13
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 14 of 27



adjusted the billing rates used to comply with the average rate I used for billing by law firm

partners. I award $1,976,012.00, which amounts a 3.25 multiplier on the adjusted lodestar.

       11. Kreindler & Kreindler.

       Anthony Tarricone co-chaired the Communications Committee of the PSC, which was an

active committee during the negotiations and in the public defense of the Settlement. As Co-

Lead Class Counsel explained, “Mr. Tarricone helped develop an effective media campaign to

ensure the dissemination of accurate information to interested media, and counter misinformation

concerning the Settlement to potential class members.” ECF No. 8447, at 9.

       The objections submitted by Mr. Tarricone, along with the objections submitted by the

other members of the Communications Committee, have provided me with a full picture of the

work performed by the committee. Co-Lead Class Counsel has also presented me with detailed

information on his views related to the impact of the Communications Committee on the overall

litigation. Mr. Tarricone was co-chair of the committee and for that leadership I believe that he

is entitled to a multiplier. Other than the firms that I appointed as Class Counsel and Professor

Issacharoff, no firm will be paid more than the Kreindler firm. It is entirely clear to me that this

payment is well-earned. It is equally clear to me that a higher multiplier is not appropriate.

       Kreindler & Kreindler submitted 1,573.00 hours for a lodestar of $1,258,400.00. This

lodestar utilized rates that exceeded the average rates I have identified. I award the firm

$1,491,097.30, which amounts to a 1.25 multiplier on the adjusted lodestar.

       12. Levin Sedran & Berman.

       Levin Sedran & Berman provided meaningful support of this litigation from start to

finish. Arnold Levin was selected to serve as a member of the PSC, and was later appointed

Subclass Counsel for Subclass 1. Mr. Levin was an active participant in the negotiations that led



                                                 14
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 15 of 27



to the Settlement Agreement. Co-Lead Class Counsel credits Mr. Levin with his role in the

negotiations regarding “class and subclass definitions, a preliminary injury grid, and foundation

for the Baseline Assessment Program.” ECF No. 8447, at 9. Additionally, Mr. Levin and

Sandra L. Duggan assisted with negotiations related to players in Subclass 2 with Dianne Nast,

Subclass Counsel for Subclass 2.

       At the direction of Co-Lead Class Counsel, the firm assisted with research on a number

of topics relevant to the strength and viability of Plaintiffs’ claims, including medical

monitoring, tolling, preemption, and fraudulent concealment, while assisting in the preparation

of the Master Administrative Personal Injury and Medical Monitoring Class Action Complaints.

The firm continued its support of the Settlement through Rule 23 appeals and arguments to the

Third Circuit.

       This firm submitted 4,862.75 hours for a lodestar of $4,573,438.75. This lodestar utilized

rates that exceeded the average rates I have identified. I award the firm $8,411,720.45, which

amounts a 2.25 multiplier on the adjusted lodestar.

       13. Locks Law Firm.

       The Locks Law Firm was involved in the leadership of this litigation. I appointed Gene

Locks and David Langfitt to serve as members of the PEC. Later in the litigation I appointed

Mr. Locks to serve as Class Counsel. Mr. Langfitt worked with two other PEC members to draft

the Master Administrative Personal Injury and Medical Monitoring Class Action Complaints,

and was involved in preparing the opposition to the NFL’s motion to dismiss on the grounds of

preemption.

       Though present early in this litigation, the firm’s role did not continue throughout the

appellate support of the Settlement. I accept Co-Lead Class Counsel’s assessment that the firm



                                                 15
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 16 of 27



did not play an active role in either the settlement negotiations or the defense of the Settlement

on appeal. I also have to respect Co-Lead Class Counsel’s concerns about the impact of Mr.

Locks’ interview with Businessweek, since Co-Lead Class Counsel led the negotiations with the

NFL and is best positioned to advise me on this matter.

       Ultimately, I conclude that the Locks firm is entitled to a multiplier for the leadership role

they played in this litigation, but their failure to provide meaningful support for other crucial

aspects of this process is the basis for the multiplier that I have chosen. The firm, however, will

be compensated more than $3.8 million for their services – only four other firms will receive a

higher payment from the common benefit fund.

       The Locks Law Firm submitted 4,243.00 hours for a lodestar of $3,084,500.00. I award

the firm $3,855,625.00, which amounts a 1.25 multiplier on the firm’s lodestar.

       14. McCorvey Law.

       Derriel McCorvey was selected to serve on the PSC. Mr. McCorvey also served on the

Communications Committee. The firm, like many others, stood ready to perform additional

work, but none was assigned because of the nature of this Settlement. I have no doubt that

McCorvey Law could have provided additional positive support had this litigation taken a

different path. Ultimately, however, I must assess the work actually performed.

       McCorvey Law submitted 331.30 hours for a lodestar of $198,780.00. I award the full

amount of the firm’s lodestar.

       15. Mitnick Law.

       Mitnick Law was not a member of the PEC or PSC, but served at the direction of Co-

Lead Class Counsel in the multi-faceted outreach efforts to the Retired NFL Player Community,

including in person events with alumni and other NFL players’ associations.



                                                 16
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 17 of 27



       Mitnick Law submitted 1,198.15 hours for a lodestar of $898,612.50. Co-Lead Class

Counsel proposed multiplier of .75 for Mitnick Law’s allocation in this matter. Though Mr.

Mitnick initially submitted objections to the proposed allocation, he subsequently withdrew those

objections, stating, “After much thought and deliberation, I have realized how much time and

energy Mr. Seeger and his firm have put into the NFL concussion litigation, its successful

resolution and their recommendation for the allocation of common benefit fees. If not for Mr.

Seeger’s efforts, there is no doubt that this case would have never materialized as quickly as it

did.” ECF No. 8917.

       Despite withdrawing his objection, Mitnick Law submitted a fee petition on May 11,

2018 and appeared before me on May 15, 2018 to argue for fees beyond those recommended by

Co-Lead Class Counsel. The time for submitting fee petitions has long passed. I set a deadline

of October 27, 2017 for the submission of all requests for fees. ECF No. 8448. Yet in the

interest of fairness, I have reviewed the fee petition and I have considered Mr. Mitnick’s

“objections” submitted during the May 15, 2018 Hearing. I have also reviewed Co-Lead Class

Counsel’s explanation of the impact of the work performed by Mitnick Law. I do not find Mr.

Mitnick’s arguments persuasive.

       I award Mitnick Law $673,959.38, which amounts a .75 multiplier on the adjusted

lodestar.

       16. NastLaw.

       NastLaw provided strong leadership throughout this litigation. Dianne Nast was selected

to serve as a member of the PSC, and was later appointed to serve as Subclass Counsel for

Subclass 2.




                                                17
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 18 of 27



       Co-Lead Class Counsel credits NastLaw as one of only six firms that “made

contributions from the outset of the litigation all the way to its end.” ECF No. 8447-2 at 4. The

firm was actively involved from the outset of the litigation, including preparation for, and

drafting of, the Master Administrative Personal Injury and Medical Monitoring Class Action

Complaints and opposing the NFL Parties’ efforts to dismiss Plaintiffs’ claims. Ms. Nast

participated in settlement negotiations with the NFL Parties as counsel for Subclass 2. The firm

also supported efforts in defending the Settlement after Preliminary Approval.

       Nast Law submitted 1,211.75 hours for a lodestar of $765,060.25. This lodestar utilized

rates that exceeded the average rates I have identified. I award the firm $1,090,636.06, which

amounts a 1.5 multiplier on the adjusted lodestar.

       17. Podhurst Orseck.

       Podhurst Orseck supported the Settlement in all three important phases in the litigation. I

appointed Stephen Marks and Ricardo M. Martinez-Cid to serve as members of the PEC. Later

in the litigation, I appointed Mr. Marks to serve as Class Counsel. Mr. Marks served as co-chair

of two committees, including the Communications Committee, Mr. Martinez-Cid also served as

co-chair of two committees, and Stephen Rosenthal serves as one of the co-chairs of the Legal

Committee, which drafted the Master Administrative Personal Injury and Medical Monitoring

Class Action Complaints and opposition to the NFL Parties’ efforts to dismiss Plaintiffs’ claims.

Podhurst was counsel for two individuals who served as Class Representatives in this matter.

       Podhurst provided meaningful contributions throughout this litigation. Co-Lead Class

Counsel credits Mr. Marks with his important work during settlement negotiations, including in

early face-to-face negotiations with the NFL Parties. Also, importantly, Mr. Marks and his firm

continued to provide support for the Settlement through Final Approval.



                                                18
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 19 of 27



       Podhurst Orseck submitted 4,510.80 hours for a lodestar of $3,005,744.50. This lodestar

utilized rates that exceeded the average rates I have identified. I award the firm $6,048,169.49,

which amounts a 2.25 multiplier on the adjusted lodestar.

       18. Pope McGlamry.

       Mike McGlamry was selected to serve as a member of the PSC. Mr. Glamry served on

the Communications Committee. Several of the firm’s shareholders served on a variety of

committees and would certainly have provided important services to the Class had this litigation

taken a different path to resolution. However, I agree with Co-Lead Class Counsel’s conclusion

that the firm’s ultimate role was not significant enough to merit a multiplier.

       Pope McGlamry submitted 1,274.90 hours for a lodestar of $829,030.00. I award the full

amount of the firm’s lodestar.

       19. Rheinhart Wendorf & Blanchfield.

       Garrett Blanchfield served on two committees. The firm submitted 23.10 hours for a

lodestar of $14,899.50. I award the firm $11,174.63, which amounts a .75 multiplier on the

submitted lodestar.

       20. Rose, Klein & Marias

       David Rosen was selected to serve on the PSC and served on the Communications

Committee, the Workers’ Compensation Committee, and the Lien and Ethics Committees. I

have already addressed both Co-Lead Class Counsel’s explanation and my conclusion about the

role of the Communications Committee. As to the additional committees referenced, these

groups did not provide the type of support of the Settlement that would entitle counsel to a

multiplier.




                                                 19
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 20 of 27



       The firm submitted 243.03 hours for a lodestar of $157,969.50. I award the full amount

of the firm’s lodestar.

       21. Seeger Weiss

       Because of the path taken by this litigation, the role played by Seeger Weiss was more

significant than other firms. Following the Initial Organizational Conference, I appointed Chris

Seeger to be Co-Lead Class Counsel in this litigation. ECF No. 64. I also appointed Seeger

Weiss partner David Buchanan to serve as a member of the PEC.

       Mr. Seeger led the negotiations that resulted in this historic settlement. Mr. Seeger and

Mr. Buchanan led every session of negotiations with the NFL Parties. And they led every

meeting of plaintiffs’ counsel who assisted in the development of the Settlement Agreement.

       Seeger Weiss played a key role in evaluating the complex legal issues of this case and

defending the case on appeal. Upon recognizing the potential legal issues related to negotiating

the Settlement under Rule 23, Seeger Weiss brought in the necessary experts to help frame the

Settlement and position it effectively for the appeal. After successfully arguing for Preliminary

and Final Approval of the Settlement, including the negotiation of amendments to the Settlement

Agreement, Seeger Weiss took the lead in defending the Settlement on appeal. The firm worked

closely with Professor Issacharoff in defending the class action settlement on appeal, up through

denial of certiorari review by the United States Supreme Court.

       Seeger Weiss has submitted 21,044 hours of fees, more than four times that submitted by

other firms.5 Some objectors have attempted to argue that Seeger Weiss did not bear much risk

in this litigation. The billable hours submitted in this case speak for themselves. Collectively



5
  Attorneys from six firms were appointed to be class counsel in this litigation. The collective
hours of all five remaining firms is less than the hours submitted by Seeger Weiss.


                                                20
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 21 of 27



Class Counsel submitted 51,068 hours in lodestar. That is to say that all of the firms that

submitted lodestar fees risked that more than fifty-one thousand hours of work would go unpaid.

That is a great risk, but it is shared among a large group. Seeger Weiss, individually, risked that

more than twenty-one thousand hours of work committed to this litigation would go unpaid.

That is almost half of the total risk taken on behalf of the class.

        This risk did not dissipate prior to the conclusion of the appeals in this case. Seeger

Weiss and Professor Issacharoff constructed a landmark legal theory to defend the settlement of

this personal injury case as a class action. This was a great legal challenge that was remarkably

well orchestrated both in the design of the Settlement and in the outstanding appellate advocacy

that supported it.

        Seeger Weiss has submitted 21,044 hours for a lodestar of $18,124,869.10.6 This

lodestar utilized rates that exceeded the average rates I have identified. I award the firm

$51,737,185.70, which amounts to a 3.5 multiplier on the submitted lodestar.

        22. The Brad Sohn Law Firm

        Brad Sohn assisted the Ethics Committee on various matters. The Brad Sohn Law Firm

submitted 50.00 hours for a lodestar of $26,250.00. I award them $19,687.50, which amounts a

.75 multiplier on the firm’s lodestar.

        23. Spector Roseman Kodroff & Willis

        William Caldes, of Spector Roseman Kodroff & Willis, served on two committees. The

firm submitted 74.40 hours for a lodestar of $51,708.00. I award them $38,781.00, which

amounts a .75 multiplier on the firm’s lodestar.



6
  After the effective date of the settlement, Seeger Weiss has continued to provide services for
the class. As set forth below, these bills will be submitted separately at a later date.


                                                   21
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 22 of 27



       24. Zimmerman Reed

       Charles Zimmerman was selected to serve as a member of the PSC and he served on the

Ethics Committee.

       The firm has argued that it is entitled to credit for pre-MDL work, noting that it had

“formulated a case theory and filed [their] first complaints” by December of 2011. But the early

submissions in this case were filed months before that – in July and August of 2011. By

December of 2011, Plaintiffs’ organizational meetings were already being held and the Maxwell

and Pear cases were actively moving forward. The firm notes its participation in the Dryer

litigation in 2009, but it is hard to understand how work on that entirely separate litigation should

be a common benefit consideration in this litigation. I have considered this contribution in my

calculation of fees for the firm.

       Zimmerman Reed submitted 1,106.50 hours for a lodestar of $885,907.25. This lodestar

utilized rates that exceeded the average rates I have identified. I award the firm $811,600.87,

which is the full amount of the adjusted lodestar.

       25. Faneca Objectors.

       The Faneca Objectors have submitted a separate fee petition in this matter (ECF No.

7070), as well as objections to the allocation proposal submitted by Co-Lead Class Counsel.

These Objectors claim that the final settlement incorporated four key elements that have roots in

their objections:

              Credit for NFL Europe;

              The Uncapping of the BAP Fund;

              Expansion of the death with CTE qualifying diagnosis; and

              Elimination of the appeal fee in cases of hardship.


                                                 22
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 23 of 27



       For these services, the Faneca Objectors seek $20 million for fees and expenses, which is

16.3% of the $122.6 million in value the Objectors’ claim they secured for the class. While the

amount sought by the Faneca Objectors is unreasonable, they are entitled to compensation for the

work they performed for the class.

       I appointed the firms representing the Faneca Objectors as Court-appointed liaisons to

coordinate the arguments of the Objectors at the November 19, 2014 Fairness Hearing. ECF No.

6344. The firms provided a service to the Court by serving in that leadership role.

       In consideration of the service provided as liaison counsel and the firms’ role in

providing benefits to the class, I award $350,000.00 to the firms that represented the Faneca

Objectors.

       26. Armstrong Objectors.

       The Armstrong Objectors have submitted a separate fee petition in this matter (ECF No.

7232), as well as objections to the allocation proposal submitted by Co-Lead Class Counsel.

These Objectors claim that they should be credited with many of the improvements that were

also submitted by the Faneca Objectors.

       I reject the claims submitted by the Armstrong Objectors. The Armstrong Objectors

cannot receive credit for parroting the same objections that were made more persuasively by the

Faneca Objectors.

       I deny the fee petition submitted by the Armstrong Objectors.

       27. Alexander Objectors.

       The Alexander Objectors have filed repeated and largely redundant pleadings seeking

fees for themselves and objecting to the fee petition submitted by Co-Lead Class Counsel. The

firm has argued that they have provided “well over 1,000 hours attempting to improve the terms



                                                23
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 24 of 27



of the settlement.” ECF No. 8725, at 9-10. I have reviewed all of the pleadings filed by the

Alexander Objectors and conclude that the arguments are too voluminous to restate here.

Common benefit attorneys do not receive fees for unsuccessful appeals and unsuccessful

objections. For that reason, the fee petition from the Alexander Objectors must be rejected.

       28. Jones Objectors.

       The Jones Objectors have submitted a separate fee petition in this matter (ECF No. 7364,

7555), as well as objections to the allocation proposal submitted by Co-Lead Class Counsel.

       The Jones Objectors argue that they should be given fees for their objection that resulted

in credit for seasons played in NFL Europe. As I have already indicated, the Faneca Objectors

are entitled to credit for their work in presenting the NFL Europe objection. A comparison

between the argument presented by the Faneca Objectors (ECF No. 6201 at 34-36) and the

argument presented by the Jones Objectors (ECF No. 6235 at 3) speaks for itself.

       I deny the fee petition submitted by the Jones Objectors.

       29. Corboy & Demetrio.

       Co-Lead Class Counsel has requested an allocation to Corboy & Demetrio for their work

in supporting and defending the Settlement. The firm represented objectors to the initial

Settlement Agreement, but ultimately worked with Class Counsel in support of the Settlement

and defense of it on appeal.

       I award the firm $250,000.00.

Total Payments at the Present time

       As is set forth above, I approve the payment of $85,619,446.79 of the $112.5 million that

I approved for payment of fees for class benefit.




                                                24
       Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 25 of 27



       At the May 15, 2018 hearing, Co-Lead Class Counsel provided me with an accounting of

the funds available at the present time. $108,442,700.12 is available to pay Class Counsel for

services. Accordingly, after today’s allocation, $22,823,253.33 will remain in the common

benefit fund. I will continue to hold these funds in reserve to pay common benefit fees as

attorneys continue to work to implement this Settlement Agreement.

       Class Counsel has already performed substantial work for the class in implementing this

Settlement Agreement. I ask Co-Lead Class Counsel to submit a petition detailing the fees for

the class benefit work that has been performed since the Effective Date of the Settlement

Agreement. Going forward, fee petitions for the work done in implementing the settlement

should be submitted by Co-Lead Class Counsel as he deems appropriate, but at least every six

months. Class Counsel should adopt the blended billing rates used in the present allocation. In

the future, Class Counsel may petition the Court for an increase in the standard billing rates, if he

determines that such increase is necessary. These implementation fees will be paid on a straight

lodestar basis, without the use of a multiplier.

III.   Conclusion

       For these reasons, I allocate $85,619,446.79 of common benefit funds to pay attorneys

for their work in obtaining the Settlement in this case. I will hold in reserve the additional funds

to pay for fees incurred in implementing the Settlement Agreement.

       And now, this ____ day of May, 2018, it is ORDERED that the Fund Administrator for

the Attorneys’ Fees Qualified Settlement Fund (“AFQSF”) shall pay each of the firms listed

below the amounts, as set forth below, from the AFQSF:

       Anapol Weiss ......................................................................................$4,643,590.00

       Casey Gerry Schenk ...............................................................................$316,533.51

       Dugan Law Firm ....................................................................................$188,340.50

                                                             25
Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 26 of 27



Girard Gibbs...........................................................................................$335,386.80

Girardi Keese .........................................................................................$526,548.33

Goldberg, Persky & White .....................................................................$328,575.00

Hagen, Rosskopf & Earle ......................................................................$324,480.00

Hausfeld .................................................................................................$914,903.77

Herman Herman & Katz ..........................................................................$89,660.00

Professor Issacharoff ...........................................................................$1,976,012.00

Kreindler & Kreindler .........................................................................$1,491,097.30

Levin Sedran & Berman .....................................................................$8,411,720.45

Locks Law Firm ..................................................................................$3,855,625.00

McCorvey Law ......................................................................................$198,780.00

Mitnick Law ...........................................................................................$673,959.38

NastLaw ..............................................................................................$1,090,636.06

Podhurst Orseck ..................................................................................$6,048,169.49

Pope McGlamry .....................................................................................$829,030.00

Rheinhart Wendorf & Blanchfield ...........................................................$11,174.63

Rose, Klein & Marias ............................................................................$157,969.50

Seeger Weiss .....................................................................................$51,737,185.70

Brad Sohn Law Firm ................................................................................$19,687.50

Spector Roseman Kodroff & Willis .........................................................$38,781.00

Zimmerman Reed...................................................................................$811,600.87

Faneca Objectors ....................................................................................$350,000.00

Corboy & Demetrio ...............................................................................$250,000.00




                                                        26
      Case 2:12-md-02323-AB Document 10019 Filed 05/24/18 Page 27 of 27



       It is further ORDERED that each of the law firms listed above shall cooperate with the

Fund Administrator of the AFQSF to effectuate this Order.

                                                            s/Anita B. Brody


                                                   ANITA B. BRODY, J.
                                                                                5/24/2018



COPIES VIA ECF ON 5/24/2018




                                              27
